                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

NATIONAL TREASURY EMPLOYEES UNION )
1750 H Street, N.W.                            )
Washington, D.C. 20006                         )
                                               )
                           Plaintiff,          )
                                               )
              v.                               )                    1:18-cv-649-CMH/MSN
                                                          Case No. __________
                                               )
DONALD J. TRUMP,                               )          COMPLAINT FOR
President of the United States,                )          DECLARATORY AND
1600 Pennsylvania Avenue, N.W.                 )          INJUNCTIVE RELIEF
Washington, D.C. 20035,                        )
                                               )
and                                            )
                                               )
JEFF T.H. PON,                                 )
Director of the Office of Personnel Management )
1900 E Street, N.W.                            )
Washington, D.C. 20415                         )
                           Defendants.         )
______________________________________________ )


        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                 INTRODUCTION

      Plaintiff National Treasury Employees Union (NTEU) is a labor organization

that represents approximately 150,000 federal government employees by

negotiating collective bargaining agreements with their agency employers,

advocating for legislation that improves the working lives of federal employees, and

engaging in general advocacy for federal employees’ rights.

      On May 25, 2018, Defendant Donald J. Trump issued a trio of executive

orders targeting federal sector labor organizations and the employees whom they

represent. Portions of two of these executive orders—“Executive Order Ensuring
Transparency, Accountability, and Efficiency in Taxpayer Funded Union Time Use”

and “Executive Order Promoting Accountability and Streamlining Removal

Procedures Consistent with Merit System Principles”—are plainly unlawful because

they conflict with federal statute.

      “The Founders of this Nation entrusted the lawmaking power to the Congress

alone . . . .” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 589 (1952). In

this complaint, NTEU challenges the President’s efforts to usurp Congress’s

authority to make laws governing federal labor relations and employment. Through

the Federal Service Labor-Management Relations Statute, 5 U.S.C. § 7101 et seq.—

the comprehensive scheme governing labor relations in the federal sector—Congress

gave federal sector labor organizations a significant portfolio of responsibilities

designed, among other things, to serve the public interest. Along with these

responsibilities, Congress gave labor organizations tools, such as official time, to aid

them in carrying out their obligations.

      Sections 4(a)(i), (ii), and (v) of Executive Order Ensuring Transparency,

Accountability, and Efficiency in Taxpayer Funded Union Time Use undercut

Congress’s policy determinations and, if given effect, would impermissibly restrict

one of those critical tools, official time, in conflict with 5 U.S.C. § 7131 and the

comprehensive collective bargaining regime provided in Chapter 71 of Title 5.

Section 4(c) of Executive Order Promoting Accountability and Streamlining

Removal Procedures Consistent with Merit System Principles likewise encroaches

upon Congress’s authority and, if given effect, would override Congress’s policy



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decisions concerning federal employees’ opportunities to demonstrate acceptable

performance, embodied in 5 U.S.C. § 4302(c). In sum, the executive orders’ core

provisions interfere with federal statute and must be struck down as unlawful.

                                    JURISDICTION

      1.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

                                        VENUE

      2.    Venue is proper in the Alexandria Division of this Court pursuant to

28 U.S.C. § 1391(e). NTEU represents thousands of employees who reside or work

within the Alexandria Division who will be affected by the illegal actions described

in this complaint. Thus, Plaintiff’s injuries will occur, at least in substantial part,

within the Alexandria Division.

                                       PARTIES

      3.    Plaintiff NTEU is an unincorporated association with its principal

place of business at 1750 H Street, N.W., Washington, D.C. 20006. NTEU is,

pursuant to Title VII of the Civil Service Reform Act, Public Law No. 95-454, 92

Stat. 1111, the exclusive bargaining representative of approximately 150,000

federal employees in 32 federal departments and agencies. NTEU represents the

interests of these employees by negotiating collective bargaining agreements; filing

and arbitrating grievances under such agreements; filing unfair labor practices;

petitioning Congress for favorable working conditions, pay, and benefits; and

enforcing employees’ collective and individual rights in federal courts.




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      4.    NTEU brings this action on behalf of itself and its members, whose

rights will be violated by the executive orders issued by the defendant.

      5.    Defendant Donald J. Trump is the President of the United States of

America. Defendant President Trump issued the executive orders challenged in

this complaint, substantial portions of which exceed his authority and are invalid.

      6.    Defendant Jeff T.H. Pon is the Director of the United States Office of

Personnel Management (OPM). The President has tasked OPM, and thus

Defendant Pon, with either implementing or guiding the agencies’ implementation

of the challenged portions of the executive orders. Because the challenged portions

of the executive orders are invalid, no agent of the President, including Defendant

Pon, may implement them.

      7.    Executive Order Ensuring Transparency, Accountability, and

Efficiency in Taxpayer Funded Union Time Use, at Section 4(c)(i) provides that

      The Office of Personnel Management (OPM) shall be responsible for
      administering the requirements of this section. Within 45 days of the date of
      this order, the OPM Director shall examine whether existing regulations are
      consistent with the rules set forth in this section. If the regulations are not,
      the OPM Director shall propose for notice and public comment, as soon as
      practicable, appropriate regulations to clarify and assist agencies in
      implementing these rules, consistent with applicable law.

Similarly, Executive Order Promoting Accountability and Streamlining Removal

Procedures Consistent with Merit System Principles, at Section 7(a), provides that

      [w]ithin 45 days of the date of this order, the OPM Director shall examine
      whether existing regulations effectuate the principles set forth in section 2 of
      this order and the requirements of sections 3, 4, 5, and 6 of this order. To the
      extent necessary or appropriate, the OPM Director shall, as soon as
      practicable, propose for notice and public comment appropriate regulations to



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          effectuate the principles set forth in section 2 of this order and the
          requirements of sections 3, 4, 5, and 6 of this order.

                                   STATEMENT OF CLAIMS

    I.         The Civil Service Reform Act and the
                Federal Service Labor-Management Relations Statute.

          8.      Prior to 1978, federal employment was governed by an “outdated

patchwork of statutes and rules built up over almost a century.” United States v.

Fausto, 484 U.S. 439, 444 (1988). Congress reacted to this state of disarray by

enacting the Civil Service Reform Act of 1978 (the Act), which “comprehensively

overhauled the civil service system.” Lindahl v. Office of Pers. Mgmt., 470 U.S. 768,

773 (1985). The Act “prescribes in great detail the protections and remedies

applicable . . .” to federal employees. Fausto, 484 U.S. at 443.

          9.      “In passing the Civil Service Reform Act, Congress unquestionably

intended to strengthen the position of federal unions and to make the collective-

bargaining process a more effective instrument of the public interest than it had

been under the [prior] regime.” Bureau of Alcohol, Tobacco, & Firearms v. Fed.

Labor Rel. Auth., 464 U.S. 89, 107 (1983) (BATF).

          10.     Thus, as a central piece of this extensive federal civil service reform,

Congress enacted the Federal Service Labor-Management Relations Statute, 5

U.S.C. § 7101 et seq. (the Statute), explicitly finding “the statutory protection of the

right of employees to organize, bargain collectively, and participate through labor

organizations of their own choosing in decisions which affect them” to “safeguard[]

the public interest” (5 U.S.C. § 7101(a)(1)).



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      11.   Through the Statute, Congress assigned federal sector labor

organizations the job of “act[ing] for” and “negotiat[ing] collective bargaining

agreements covering” not only their members, but all employees in the bargaining

units that they were elected to represent. 5 U.S.C. § 7114(a). Congress did so based

upon its conclusion that the work of labor organizations “contributes to the effective

conduct of public business” and “facilitates and encourages the amicable settlement

of disputes between employees and their employers involving conditions of

employment.” 5 U.S.C. § 7101(a)(1).

      12.   The responsibility that Congress has bestowed on labor organizations,

like NTEU, thus requires them to represent all employees in their bargaining units

fairly, in good faith, and without discrimination, regardless of whether they have

joined the union. In NTEU’s case, this means providing representation to

approximately 150,000 bargaining unit employees working in 32 different federal

departments and agencies.

      A.    Congress’s Deliberate Decision to Expand Official Time.

      13.   To allow labor organizations to do what the Statute requires of them,

Congress consciously, and dramatically, expanded upon the “official time” concept

contained in the executive orders that governed federal sector labor-management

relations prior to the Statute’s enactment. That concept allows union members

what is known as “official time” for certain work-related functions involving

agencies, labor organizations and the agency employees that they represent. Hence,




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Congress decided that managers and labor organizations can perform certain work-

related functions during the work day, while being paid by the government.

      14.   The events leading up to Congress’s decision to expand official time

show that Congress understood the value of official time. The Legislative History of

the Act shows that an early bill proposed in Senate would have retained then-

existing restrictions on the authorization of official time. See BATF, 464 U.S. at

101-02 (citing S. Rep. No. 95-969, at 112 (1978)). But Congress, instead, adopted 5

U.S.C. § 7131 “in its present form.” Id. at 102. Representative Clay, who co-

introduced the bill that became the enacted legislation, stated emphatically that

union negotiators “should be allowed official time to carry out their statutory

representational activities just as management uses official time to carry out its

responsibilities.” Id. at 102 (quoting 124 Cong. Rec. 29188 (1978) (remarks of Rep.

Clay) and citing H.R. Conf. Rep. No. 95-1717, at 111 (1978)).

      15.   Through Section 7131 of Title 5, Congress made several deliberate

policy decisions. Congress rejected, completely, the limitations on official time in

the executive orders that predated the Statute. It chose, instead, to expressly

provide for official time, without limitation, in two circumstances: the negotiating

of a collective bargaining agreement and the participation in a proceeding before the

Federal Labor Relations Authority. See 5 U.S.C. § 7131(a),(c).

      16.   Congress did something else in Section 7131: it purposefully left it to

labor organizations and agencies to agree upon the other amounts of official time

that are “reasonable, necessary, and in the public interest” (5 U.S.C. § 7131(d)).



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Congress declared that once the union and agency agree on that amount, such

official time “shall be granted.” 5 U.S.C. § 7131(d).

       17.   Congress further provided that the agreed upon amount of official time

could be used by any employee representing the union or by any bargaining unit

employee “in connection with any other matter covered by [the Statute].” 5 U.S.C. §

7131(d). In other words, official time could be used for any representational work,

performed by a labor organization, or any other matter related to Chapter 71 of

Title 5, so long as it did not relate to the union’s “internal business,” e.g.,

“solicitation of membership, election of labor organization officials, and collection of

dues.” 5 U.S.C. § 7131(b).

       18.   In short, the policy decisions made by Congress through Section 7131

significantly expanded the categories of union work for which official time might be

available beyond the executive orders that previously governed federal labor

relations. Section 7131 also plainly marked a conscious shift by Congress to a new

official time system that deferred to the will, experience, and expertise of the

negotiating parties to a collective bargaining agreement. This new system

mandated official time for certain purposes (5 U.S.C. § 7131(a), (c)) and delegated to

labor organizations and agencies the right to bargain for other amounts of official

time that they deem to be “reasonable, necessary, and in the public interest” (5

U.S.C. § 7131(d)).

       19.   As shown, Congress deliberately, and significantly, expanded upon the

concept of official time in the Statute, an expansion that better equipped labor



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unions, serving as the exclusive representatives of bargaining units, to handle the

broad portfolio of work that the Statute gave to them.

      20.   Consistent with the Statute, NTEU has negotiated official time

provisions in its collective bargaining agreements, including provisions that discuss

allotments of official time and parameters for its use. Section 7131(d) requires that

those agreed upon amounts of official time “shall be granted.”

      B.    Congress’s 1978 Decision on Removals for Performance.

      21.   The comprehensive federal personnel scheme that Congress created

through the Civil Service Reform Act establishes, among other things, processes for

evaluating employee performance, including procedures for addressing the

performance of an employee that drops below an acceptable level.

      22.   In Section 4302 of Title 5, Congress directs agencies to develop one or

more personnel appraisal systems that “(1) provide for periodic appraisals of job

performance of employees; (2) encourage employee participation in establishing

performance standards; and (3) use the results of performance appraisals as a basis

for training, rewarding, reassigning, promoting, reducing in grade, retaining, and

removing employees.”

      23.   Congress further provided in Section 4302 that, “[u]nder regulations

which the Office of Personnel Management shall prescribe, each performance

appraisal system shall provide for . . . reassigning, reducing in grade, or removing

employees who continue to have unacceptable performance but only after an




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opportunity to demonstrate acceptable performance.” 5 U.S.C. 4302(c)(6) (emphasis

added).

      24.   The statutorily mandated “opportunity to demonstrate acceptable

performance” (5 U.S.C. 4302(c)(6)) is commonly known as a “performance

improvement period” (PIP). Agencies must bargain with unions over conditions of

employment to the extent that proposals are not inconsistent with federal law,

government-wide statute, or rights that the Statute reserves for agency

management. See 5 U.S.C. §§ 7103(12),(14), 7106(a), 7117(a)(1). Congress chose

not to define the precise length of a PIP in Section 4302(c)(6) or its list of reserved

management rights in the Statute (see 5 U.S.C. § 7106). Agencies and unions may

thus bargain over the appropriate length of a PIP or, put differently, how long a

bargaining unit employee will have to “demonstrate acceptable performance” (5

U.S.C. § 4302(c)(6)) before being sanctioned for unacceptable performance.

      25.   NTEU negotiates the length of PIPs in its collective bargaining

agreements with agencies. PIPs that NTEU bargains are frequently more than 30

days. NTEU’s contract with the Internal Revenue Service, for example, provides

that “[p]rior to issuing a notice of proposed action based on unacceptable

performance, the Employer will issue a letter to the employee which contains . . . a

statement that the employee has a reasonable period of time (specified in days) but

never less than sixty (60) days in which to bring performance up to an acceptable

level.” Similarly, NTEU’s contract with Customs and Border Protection provides

that, prior to removing an employee for unacceptable performance, “[t]he employee



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will be provided a reasonable period of time, at least sixty (60) days, to improve

his/her performance to the Successful level.” Section 4(c) of the order, if given effect,

would jeopardize these contractual provisions by limiting PIPs to 30 days, unless

agencies, in their sole and exclusive discretion, elect to extend those periods.

    II.         President Trump’s Executive Orders.

           26.     “When the President takes measures incompatible with the expressed

or implied will of Congress, his power is at its lowest ebb, for then he can rely only

upon his own constitutional powers minus any constitutional powers of Congress

over the matter.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637

(1952) (Jackson, J., concurring). “Courts can sustain exclusive presidential control

in such a case only by disabling the Congress from acting upon the subject.” Id. at

637-38.

           27.     Critical and substantial parts of two of the executive orders that

President Trump issued on May 25, 2018, intrude upon an area that Congress

occupies, conflict with Congress’s express will, and cannot stand. Those executive

orders are: “Executive Order Ensuring Transparency, Accountability, and

Efficiency in Taxpayer Funded Union Time Use” and “Executive Order Promoting

Accountability and Streamlining Removal Procedures Consistent with Merit

System Principles.”

           A.      Executive Order Ensuring Transparency, Accountability,
                    and Efficiency in Taxpayer Funded Union Time Use.

           28.     Section 4(a) of this executive order requires that “all employees shall

adhere to” the “requirements” imposed by that section. Section 4(a) goes on to limit


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official time quantitatively, in conflict with 5 U.S.C. § 7131. It also prohibits official

time altogether in certain circumstances, again in conflict with 5 U.S.C. § 7131.

      29.     The President, through his Section 4(a) mandates, has exceeded the

scope of his authority by intruding into the area of official time and disrupting the

scheme that Congress has put into place through Section 7131 of Title 5. Congress

has expressed, plainly, its will through this key provision, which is part of a larger,

comprehensive scheme that it took great care in devising. Giving the subprovisions

of Section 4(a) discussed below effect would serve to override Congress, allowing the

President to usurp Congress’s role in our system of government by curtailing key

provisions of the Statute.

      30.     Section 4(a)(i) provides that “[e]mployees may not petition Congress in

employee-related issues during paid time, except in their official capacities as an

employee.” This proscription conflicts with Section 7131. Through Section 7131(d),

Congress has allowed official time to be provided for any activity related to union

representation or related to any matter covered by the Statute, apart from those

activities prohibited by Section 7131(b). Official time for petitioning Congress on

issues related to federal employees or federal employment is thus allowable under

the Statute.

      31.     NTEU’s collective bargaining agreement with Customs and Border

Protection, for example, explicitly allows for official time to petition Congress

regarding certain “activities (e.g., visiting, phoning and writing to elected

representatives) on matters concerning Union employees’ conditions of



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employment.” Section 4(a)(i), if given effect, would upend provisions like this one or

allow their termination.

      32.   Section 4(a)(v) states that employees “may not” use official time “to

prepare or pursue grievances (including arbitration of grievances) brought against

an agency under procedures negotiated pursuant to section 7121 of title 5, United

States Code, except where such use is otherwise authorized by law or regulation.”

Section 4(v) further provides that this “prohibition” does not apply to (1) an

employee using official time “to prepare for, confer with an exclusive representative

regarding, or present a grievance brought on the employee’s own behalf; or to

appear as a witness in any grievance proceeding”; or (2) an employee using official

time “to challenge an adverse personnel action taken against the employee in

retaliation for engaging in federally protected whistleblower activity.”

      33.   By declaring that employees are barred from using official time “to

prepare or pursue grievances (including arbitration of grievances) brought against

an agency” except when authorized by law or regulation, Section 4(a)(v) flatly

conflicts with Section 7131, which expressly allows employee union representatives

to use official time for such grievances whenever authorized by contract between the

employee’s exclusive representative and the employing agency.

      34.   Congress has required each federal sector collective bargaining

agreement to include a negotiated grievance procedure. 5 U.S.C. § 7121(a)(1).

Congress also decided that the negotiated grievance procedure must be broad in

scope (5 U.S.C. § 7103(a)(9)), excluding only certain topics (5 U.S.C. § 7121(c)).



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      35.   Labor organizations like NTEU play a critical role in preparing and

pursuing grievances. Employees rely upon their unions to perform this role.

Section 4(a)(v) would greatly hinder labor organizations like NTEU in preparing

and presenting grievances on behalf of the employees that they represent.

      36.   Illustrating the anomaly of Section 4(v), if it were given effect and an

agency were to commit an unfair labor practice, as defined by Congress in Section

7116 of Title 5, union representatives would be denied official time to challenge that

unfair labor practice through the grievance procedure that Congress has required

them to negotiate to deal with disputes with the agency (5 U.S.C. § 7121(a)(1)). The

plain text of the Statute tells us that this was not what Congress intended.

Congress wanted to aid labor organizations in performing their statutory

representational roles, not make it harder for them to do what is required of them.

      37.   Section 4(a)(ii) of the order provides the type of quantitative cap on

official time that Congress consciously rejected in Section 7131 of Title 5. The

President, through this provision, contravenes Congress’s statutory plan.

Specifically, Section 4(a)(ii), at subparagraph 1, states that “[e]xcept as provided in

subparagraph (2) of this subsection, employees shall spend at least three-quarters

of their paid time, measured each fiscal year, performing agency business or

attending necessary training.” Subparagraph 2 of the subsection provides that

“[e]mployees who have spent one-quarter of their paid time in any fiscal year on

non-agency business” may continue to use official time for the purposes outlined in

5 U.S.C. § 7131(a) and (c)—i.e., negotiating a collective bargaining agreement or



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participating in a proceeding before the Federal Labor Relations Authority. But,

under subparagraph 3 of the subsection, any official time spent in excess of 25% of

one’s paid time in any fiscal year—including time spent negotiating a collective

bargaining agreement or participating in a Federal Labor Relations Authority

proceeding—“shall count toward the limitation set forth in subparagraph (1) of this

subsection in subsequent fiscal years.” The annual official time limitation in

Section 4(a)(ii) plainly contradicts Congress’s scheme in Section 7131 of Title 5.

      B.    Executive Order Promoting Accountability and Streamlining Removal
             Procedures Consistent with Merit System Principles.

      38.   The President, through his mandates in Section 4(c) of this executive

order, has exceeded the scope of his authority and would disrupt policy decisions

that Congress has made in Section 4302(c)(6) of Title 5. Giving Section 4(c) effect

would allow the President to usurp Congress’s role in designing the Act.

      39.   Section 4(c) conflicts with two parts of Congress’s comprehensive

personnel scheme. It states that “no agency shall . . . generally afford an employee

more than a 30-day period to demonstrate acceptable performance under section

4302(c)(6) of title 5, United States Code, except when the agency determines in its

sole and exclusive discretion that a longer period is necessary to provide sufficient

time to evaluate an employee’s performance.”

      40.   The imposition of a general, 30-day limitation on PIPs runs contrary to

Section 4302(c)(6) of Title 5, which contains no temporal limitation on PIPs, but

instead requires “an opportunity to demonstrate acceptable performance.”




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Implementing regulations issued by the Office of Personnel Management require

this opportunity to be a “reasonable” one. 5 C.F.R. § 432.104.

    III.   The Harm that NTEU Will Suffer Due to the Executive Orders.

        41.   NTEU brings this action on behalf of itself and the employees that it

represents. The sections of the executive orders discussed above will injure both

NTEU and those employees. These sections undermine NTEU and NTEU

members’ existing rights under their collective bargaining agreements, even though

those contractual rights are entirely consistent with federal statute; the President

has ordered federal agencies, at the earliest possible time, to renegotiate or

terminate provisions in these contracts that conflict with the executive order

mandates discussed above.

        42.   NTEU and its members will be harmed by Sections 4(a)(i), (ii), and (v)

of the Executive Order Ensuring Transparency, Accountability, and Efficiency in

Taxpayer Funded Union Time Use, which pertains to official time. These provisions

will severely restrict the abilities of NTEU members to act as union representatives

and will impair NTEU’s ability to carry out its responsibility to ensure that

employees are treated in accordance with applicable law, regulations, and collective

bargaining agreements.

        43.   The official time cap that Section 4(a)(ii) mandates would lead to union

representatives being deterred from performing, or being rendered unable to

perform, essential union functions, defeating the scheme that Congress enacted. As

an initial matter, it will discourage union representatives from engaging in



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activities for which official time is entirely appropriate because those employees will

not want to exhaust their official time allotment prematurely. And, once the cap is

hit, they will be financially harmed by having to use annual leave or leave without

pay to perform currently permissible official time functions. This significant

hindrance to union representatives will also harm the employees who depend upon

their assistance.

      44.   Although Section 4(a)(ii) would allow employees who have hit the 25%

of paid time cap on official time for the fiscal year to use additional official time to

negotiate collective bargaining agreements and participate in Federal Labor

Relations Authority proceedings, employees will certainly be deterred from

performing even those vital functions. That is because, under Section 4(a)(ii)(3) of

the executive order, time spent on these activities after the 25% of paid time cap is

reached will count towards the next fiscal year’s 25% of paid time cap. In practical

terms, this will mean that a union representative would reach his or her official

time cap even sooner in that next fiscal year. This, in turn, would preclude the

union representative from using official time for otherwise permissible union

functions that do not relate to collective bargaining or Federal Labor Relations

Authority proceedings (i.e., official time that can currently be negotiated under

Section 7131(d) of Title 5). This would be directly contrary to Congress’s intent:

Section 7131(d) declares that official time amounts negotiated by unions and

agencies “shall be granted.”




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      45.   Because official time would no longer be available for union

representatives to prepare for or present grievances against the agency employer,

the employees that NTEU represents will effectively be denied the opportunity to be

represented by NTEU in those proceedings. NTEU’s representatives routinely

represent employees in grievance proceedings; this work is so substantial that it

cannot effectively be done outside of business hours. And, due to Section 4(a), if

done during business hours, union representatives would have to do this

representational work while on annual leave or while on leave without pay; in other

words, doing this work would come at a financial cost to them, which would deter

the work from being done altogether.

      46.   As a result, the employees that NTEU represents will be deprived of

NTEU’s expertise and resources in grievance proceedings, including, but not limited

to, grievances challenging unlawful discrimination, unjust removals, or illegal pay

practices. NTEU and its representatives routinely challenge unjust agency

discipline and illegal pay practices with success through the grievance process.

Official time would be prohibited for this work, even though it is plainly in the

public interest to have improper agency actions of these types corrected.

      47.   The sections of the executive orders discussed above, moreover, would

unfairly diminish NTEU’s bargaining power. NTEU would have to confront

unreasonably restrictive official time proposals mandated by the President that are,

as described above, contrary to the Statute. NTEU would also be confronted with

mandatory agency proposals at odds with Section 4302(c)(6) of Title 5, which places



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no temporal limitations on PIPs and does not relegate decisions concerning PIP

lengths to the sole and exclusive discretion of agencies.

      48.   The employees that NTEU represents would be harmed by having the

PIPs in their contracts threatened by operation of Section 4(c) of Executive Order

Promoting Accountability and Streamlining Removal Procedures Consistent with

Merit System Principles, which would make it more difficult for them to show an

improvement in performance and, potentially, save their jobs.

                                CAUSES OF ACTION

Count 1: Sections 4(a)(i), (ii), and (v) of Executive Order Ensuring Transparency,
Accountability, and Efficiency in Taxpayer Funded Union Time Use Conflicts with 5
U.S.C. § 7131 and the Statute’s Collective Bargaining Scheme

      49.   Plaintiff reasserts the allegations contained in paragraphs 1 through

48 of this complaint as though contained herein.

      50.   Courts have jurisdiction to grant relief when the President acts beyond

the scope of his or her authority and violates the law, to the injury of an individual

or organization.

      51.   Sections 4(a)(i), (ii), and (v) interfere with various provisions expressly

prescribed by Congress. Because Section 4(a)’s requirements conflict with Section

7131 of Title 5, giving them effect would override Congress and allow the President

to usurp Congress’s lawmaking authority.

      52.   Section 4(a)(i)’s provision that “[e]mployees may not engage in lobbying

activities during paid time, except in their official capacities as an employee”

conflicts with Section 7131. Through Section 7131(d), Congress has allowed official



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time to be provided for any activity related to union representation or related to any

matter covered by the Statute, apart from those activities prohibited by Section

7131(b). NTEU has negotiated contracts that include provisions allowing for official

time for certain lobbying activities. Section 4(a)(i) would require agencies to

propose to terminate these provisions, to the detriment of employees.

      53.   By declaring that employees are barred from using official time “to

prepare or pursue grievances (including arbitration of grievances) brought against

an agency” except when authorized by law or regulation, Section 4(a)(v) flatly

conflicts with Section 7131, which expressly allows employee union representatives

to use official time for such grievances whenever authorized by contract between the

employee’s exclusive representative and the employing agency. NTEU’s

representatives routinely assist bargaining unit employees in grievance and

arbitration proceedings and receive official time for doing so. Section 4(a)(v) would

lead to agencies renegotiating or terminating contractual provisions that allow

official time for such critical representational work.

      54.   Section 4(a)(ii)’s fiscal year cap on official time plainly contradicts

Congress’s scheme in Section 7131 of Title 5, which, unlike the superseded

executive orders that the Statute supplanted, contains no quantitative limits on the

use of official time. Consistent with the Statute, NTEU’s collective bargaining

agreements generally allow for an individual union representative to spent more

than 25% of his or her paid time in a fiscal year on official time. Section 4(a)(ii), if




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valid, would allow agencies to renegotiate or to terminate these provisions, even

though they are authorized by, and entirely consistent with, the Statute.

      55.   Sections 4(a)(i), (ii), and (v) would undermine the collective bargaining

regime that the Statute establishes by substituting the judgment of the President

for that of those to whom Congress has given the responsibility of bargaining over

official time pursuant to Section 7131(d) of Title 5.

      56.   Sections 4(a)(i), (ii), and (v) would bestow upon the President power

that Congress intended the Federal Labor Relations Authority to exercise: the

power to determine which activities are the proper subject of official time

negotiations under Section 7131(d) of Title 5.

Count 2: Section 4(c) of Executive Order Promoting Accountability and
Streamlining Removal Procedures Consistent with Merit System Principles
Conflicts with 5 U.S.C. § 4302(c)(6)

      57.   Plaintiff reasserts the allegations contained in paragraphs 1 through

48 of this complaint as though contained herein.

      58.   Courts have jurisdiction to grant relief when the President acts beyond

the scope of his or her authority and violates the law, to the injury of an individual

or organization.

      59.   Section 4(c) of the order, intrudes into an area that Congress occupies

through the Statute. Because Section 4(c) conflicts with Section 4302(c)(6) of Title

5, giving it effect would serve to override Congress and to allow the President to

usurp Congress’s lawmaking authority.




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      60.   Section 4(c)’s 30-day limitation on PIPs is contrary to Section

4302(c)(6) of Title 5, which contains no temporal limitation on PIPs.

      61.   Section 4(c)’s declaration that extensions of PIPs beyond 30 days shall

be left to the “sole and exclusive discretion” of the agency employer conflicts with

Section 7106 of Title 5. Congress deliberately chose not to include the appropriate

length of a PIP in its list of non-negotiable, reserved management rights in Section

7106. Section 4(c) would bestow upon the President power that Congress intended

the Federal Labor Relations Authority to exercise: the power to determine what

aspects of PIPs are the proper subject of bargaining.

                              REQUEST FOR RELIEF

      WHEREFORE, based on the foregoing, Plaintiff NTEU requests judgment

against Defendant President Donald J. Trump and Defendant Pon:

      A.    Declaring that Sections 4(a)(i), (ii), and (v) of Executive Order

Ensuring Transparency, Accountability, and Efficiency in Taxpayer Funded Union

Time Use are unlawful.

      B.    Declaring that Section 4(c) of Executive Order Promoting

Accountability and Streamlining Removal Procedures Consistent with Merit

System Principles is unlawful.

      C.    Enjoining Defendant President Trump or his subordinates, including

Defendant Pon, from enforcing Sections 4(a)(i), (ii), and (v) of Executive Order

Ensuring Transparency, Accountability, and Efficiency in Taxpayer Funded Union

Time Use.



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      D.      Enjoining Defendant President Trump or his subordinates, including

Defendant Pon, from enforcing Section 4(c) of Executive Order Promoting

Accountability and Streamlining Removal Procedures Consistent with Merit

System Principles.

      E.      Awarding Plaintiff reasonable attorney fees and costs incurred.

      F.      Ordering such further relief as the Court may deem just and

appropriate.




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                               Respectfully submitted,


/s/ Bernard J. DiMuro                    /s/ Gregory O’Duden
__________________________             _______________________________________
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Virginia Bar No. 18784                 pending)
Jonathan R. Mook                       Larry J. Adkins (pro hac vice application
Virginia Bar No. 19177                 pending)
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Virginia Bar No. 90065                 pending)
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Attorney for Plaintiff NTEU


June 1, 2018




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
                           CERTIFICATE OF SERVICE


      I certify that, on June 1, 2018, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the Eastern

District of Virginia through the CM/ECF system. I further certify that service was

accomplished pursuant to the Court’s electronic filing procedures.



                                 /s/ Bernard J. DiMuro
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                                Attorney for Plaintiff




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